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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION


   UNITED STATES OF AMERICA                §
                                           §
                   v.                      § Cause No. 4:18-cr-87 M
                                           § Hon. Amos Mazzant, Judge
   LAURA JORDAN                            §
   (previously known by her prior          §
   married name ‘Maczka’), and             §
   MARK JORDAN                             §

             DEFENDANTS’ MOTION TO STRIKE SURPLUSAGE
         The Defendants, through counsel, and pursuant to Rules 7(c)(1) and 7(d),

   F.R.Crim.P., and provisions of the U.S. Constitution which secure the right to a fair

   trial and provide for the effective assistance of counsel, move to strike from the

   indictment specific items of surplusage and submit the following in support of this

   motion:

   1.    Rule 7(c)(1) of the Federal Rules of Criminal Procedure provides in pertinent

   part that an indictment "must be a plain, concise, and definite written statement of

   the essential facts constituting the offense charged . . .” (emphasis added) . Rule 7(d)

   provides: “Upon the defendant’s motion, the court may strike surplusage from the

   indictment or information.”

   2.    Count 1 of the superseding indictment describes the conspiracy as follows:



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   “B. The Conspiracy

        11. From in or around May 2013, through on or about July 31, 2016, in the

   Eastern District of Texas and elsewhere, Maczka and Jordan conspired,

   combined, and agreed to devise a scheme and artifice to deprive the citizens of

   the City of Richardson, through fraud, of the honest services of Maczka, the

   mayor of the City of Richardson, and, for the purpose of executing the scheme

   and artifice, caused a wire communications to be transmitted in interstate

   commerce, a violation of 18 U.S.C. §§ 1343 and 1346.

   C.    The Purpose of the Conspiracy

         12.      The purpose of the conspiracy was for the defendants to use

   Maczka’s official position as the mayor of the City of Richardson to benefit and

   enrich themselves through bribery.” [all emphasis original]

   As these allegation makes clear, the conspiracy and the scheme to defraud

   concern the honest services of Maczka as mayor.1

   3.   The following items are surplusage and should be stricken:



   1
     Similarly, counts 3 and 4 [honest services wire fraud in violation of 18 U.S.C. 1343 and 1346]
   allege the defendants devised a scheme “to deprive the citizens of the City of Richardson, through
   fraud, of their right to the honest services of the mayor. . . ..” Count 5, 6 and 7 [conspiracy (18
   U.S.C. 371) to corruptly offer and reward Maczka, as an agent of the city, and to corruptly accept
   a thing of value in connection with the business of the city of a value of $5,000 or more, and
   substantive violations of 18 U.S.C. 666].
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         (a)   ITEMS NO. 1 and 2

   “D. Manner and Means of the Conspiracy

       It was part of the manner and means of the conspiracy and the scheme that:

       13. At the time Jordan and his partners purchased the Palisades Property,

    the Palisades Property was zoned for local retail and office use and for 300

    condominiums; it was not zoned for apartments. Over time, Jordan

    envisioned transforming the Palisades Property into a mixed-use development

    that included, among other things, single-family units ("houses") and

    apartments (collectively referred to as the "Palisades Project"). According to

    Jordan's representative, LG, the Palisades Project would not work without

    the apartments ‘because of what apartments contribute’ to the development.

    In Fall 2012 and Spring 2013, Jordan began holding collaborative planning

    sessions involving local Richardson stakeholders (e.g., homeowners'

    associations, City officials, and others), at which Jordan and LG presented

    Jordan's plans for the Palisades Project.

        14. Before being elected mayor of the City of Richardson, Maczka

    served on the Richardson City Council. On November 27, 2012, Maczka

    announced that she intended to run for mayor of the City in 2013. During

    the mayoral campaign in Spring 2013, Maczka publicly stated that there

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    should be no more apartments built in Richardson near Richardson

    neighborhoods. Maczka, her then-husband MM, and her children in fact

    lived in the Canyon Creek neighborhood immediately next to the Palisades

    Property. In one of her campaign advertisements, Maczka stated that

    ‘[w]hen it comes to apartments, you know that Laura has always said we do

    not need more apartments near our neighborhoods. Period.’ Maczka was

    elected mayor of the City of Richardson by a majority vote on May 11, 2013,

    and began her term on May 20, 2013.” [all emphasis original]

         (b)   Why items 1 and 2 are surplusage

    Paragraphs 13 and 14 are incorporated by reference in each of the other counts of

    the indictment. Except for the last sentence of Paragraph 14 [regarding the date

    of Maczka’s election as mayor and the date her term as mayor began, neither of

    which is surplusage], these paragraphs describe occurrences prior to Maczka’s

    election as mayor. These are simply assertions of what the government believes

    the evidence will show – that is, a preview of the prosecution’s evidence and

    interpretation of various events and circumstances. These paragraphs do not

    describe the purported conspiracy, or any scheme to defraud, as they pre-exist

    Maczka becoming the mayor. No conspiracy is alleged to begin until Maczka

    becomes mayor – as the charging instrument states. Therefore, these paragraphs


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    do not and cannot describe a manner and means of the conspiracy. Furthermore,

    these Paragraphs are included in counts 3 and 4, which allege “a scheme and

    artifice to deprive the citizens of the City of Richardson, through fraud, of their

    right to the honest services of the mayor . . .. ” Again, Paragraphs 13 and 14

    cannot describe this purported scheme because they pre-exist Maczka becoming

    mayor.

         (c)    ITEM NO. 3

   “E. Representative Acts of the Conspiracy and the Scheme and Artifice

       20. [incorporated by reference in all counts of superseding indictment]

   On or about the following dates in furtherance of the conspiracy, in the Eastern

   District of Texas and elsewhere, the defendants caused the following acts to be

   committed:

                 “a. During her campaign for election to the office of mayor of the City
         of Richardson, Maczka’s public position was that she was opposed to zoning
         that permitted construction of apartments next to neighborhoods. Specifically,
         Maczka authored and caused to be distributed the following statements in
         campaign advertisements:
               When it comes to apartments, you know that Laura has always said
         we do not need more apartments near our neighborhoods. Period.
               For the record, Laura has never supported building apartments in or
         adjacent to our neighborhoods. . . .Laura is one of our most pro-neighborhood
         council members. . . .She stands with – and for – our neighborhoods.”
   (all emphasis original)


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         (d)    Why Item 3 is Surplusage

   The conduct set forth in Paragraph 20 a. could not be part of a conspiracy that did

   not yet exist. The purported conspiracy – by its express terms – does not begin until

   Maczka becomes the mayor. Again, this is merely an assertion of evidence the

   prosecution wishes to offer in support of its accusation and is therefore surplusage.

         (e)    ITEM NO. 4 and Why it Constitutes Surplusage

   Paragraph 5 of the indictment describes the Defendant Mark Jordan and his business

   entities, and the purchase of the Palisades Property.    A brief description of Mr.

   Jordan’s purported vocation, and associated business entities, is not surplusage.

   However, this paragraph (sentence 5) gratuitously goes beyond and outside that

   description of the Defendant and inserts the following: “The Palisades Property

   was adjacent to the Canyon Creek and Prairie Creek neighborhood.” This is

   not a description of the Defendant Mark Jordan or even his business entities, nor is

   it an element of the alleged offense. This is a purely evidentiary assertion of what

   the prosecution hopes to prove and, ergo, also is surplusage which should be

   stricken.

         (f) ITEM No. 5 and Why It Constitutes Surplusage




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   Paragraph 20. qq. concerns a December 2014 trip taken by Mark Jordan and Laura

   Jordan [as ‘Maczka’] and includes in part [the second sentence] the following

   statement:

           Southwest Airlines Flight 4099 records indicate that Maczka ‘became
           upset with an operations agent’ after the agent told Maczka, who
           was still legally married to MM at the time, she had too many bags
           and that ‘she would have to wait until her husband [Jordan] returns
           to carry his own [bags].’ ”

   This is a purely evidentiary matter, if that, and clearly is surplusage which should be

   stricken. It is gratuitous and inflammatory (“upset with an operations agent”; “still

   legally married to MM at the time”) and improperly relieves the government of its

   burden with respect to admissibility of evidence in support of its narrative.

   4.      Applicable Legal Principles.

   An ‘evidentiary’ indictment does not merely offend the rules of pleading. It also

   compromises a defendant’s legitimate interests in several respects.

        • It unfairly undermines the adversarial balance which our system is designed

           to protect. A narrative of the prosecution’s evidence (that is, its version or

           interpretation of events and circumstances) enshrined in the indictment

           affords to the prosecution substantial adversarial advantages, which

           undermine a defendant’s right to a fair trial and the effective assistance of

           counsel under the Fifth and Sixth Amendments to our Constitution. As the

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        Supreme Court has repeatedly stated, ours is an adversarial system and

        adversarial balance is critical to that constitutional system. E.g., Anders v.

        California, 386 U.S. 738, 743 (1967); Wardius v. Oregon, 412 U.S. 470

        (1973); Herrin v. New York, 422 U.S. 853, 862 (1975); United States v.

        Morrison, 449 U.S. 361, 364 (1981); United States v. Cronic, 466 U.S. 648,

        655-656 (1984); Strickland v. Washington, 466 U.S. 668, 685 (1984). When

        the indictment goes beyond a statement of the alleged offense and includes its

        version of the evidence, the prosecution receives two ‘opening statements’ –

        the first, through the reading of the indictment to the jury. Moreover, in those

        instances where a court permits the indictment to accompany the jurors during

        deliberations, the jurors are guided during the most critical stage of the

        proceeding by a surplusage-laden document which sets forth only the

        prosecution’s version of events – a ‘roadmap’ of the prosecution’s case. This

        adversarial imbalance impinges upon a defendant’s right to a fair trial as well

        as his right to the effective assistance of counsel.

   •    An evidentiary indictment also offends the Separation of Powers and the

        Judicial Power of the United States secured by Article III, §1 of the

        Constitution, as well as the rules of evidence. This is so because inclusion of

        surplusage in an indictment interdicts the necessity to submit admissibility

        questions to the Court. An evidentiary indictment assures that matters

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        committed to the presiding judge (e.g., admissibility of evidence, including

        whether grounds for exclusion exist due to confusion, waste of time, unfair

        prejudice) are instead entrusted to the Executive Branch. Inclusion of

        surplusage in the indictment forecloses judicial scrutiny in derogation of the

        rules of evidence and the adversarial process. It enables the prosecution to

        skip a few steps.

   5.   For these reasons, the surplusage designated herein should be stricken.

   Respectfully submitted,

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                         CERTIFICATE OF CONFERENCE

        I advised the government that this joint defense motion to strike surplusage
   would be filed and confirmed the government’s opposition with counsel, Mr. Glenn
   Roque-Jackson.

                                          /s/Shirley Baccus-Lobel
                                          Shirley Baccus-Lobel


                             CERTIFICATE OF SERVICE

         On June 4, 2021, this motion was filed and distributed to all counsel of record
   through the Court’s ECF system.

                                          /s/Shirley Baccus-Lobel
                                          Shirley Baccus-Lobel




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